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 3
     Sacramento, California 95814
 4   Telephone: (916) 442-4022
 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8                                             )
     UNITED STATES OF AMERICA,                 ) Case No.: 2:16-cr-00025-TLN
 9                                             )
                  Plaintiff,                   ) STIPULATION AND ORDER FOR
10                                             ) RETURN OF CASH BOND
           v.                                  )
11                                             )
     JORGE VEGA-MACIAS,                        )
12                                             )
                  Defendant.                   )
13
14                                          STIPULATION
15         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
16   cash bond of $50,000 is hereby released. On June 14, 2016, the Court Clerk entered
17   RECEIPT number #CAE200074870, $50,000.00 fbo Jorge Macias-Vegas by Hisham
18   Halder El Farra. Mr. Vega-Macias has been detained and is awaiting sentencing on
19   June 13, 2019. Therefore, the parties stipulate that the cash bond can now be returned
20   to Hisham Halder El Farra.
21
22   IT IS SO STIPULATED.
23
24   Dated: May 22, 2019                                   /s/ Thomas A. Johnson
                                                           THOMAS A. JOHNSON
25
                                                           Attorney for Jorge Vega-Macias
26
27
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 1                                                 MCGREGOR W. SCOTT
                                                   United States Attorney
 2
     Dated: May 22, 2019                           /s/ Justin Lee
 3
                                                   JUSTIN LEE
 4                                                 Assistant U.S. Attorney
 5
 6                                     ORDER
 7
 8         IT IS SO ORDERED.
 9
     Dated: May 23, 2019
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